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                    EXHIBIT 6
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                                Telephonic Hearing
                                 January 22, 2021


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
        Civil Action No. 19-cv-00874-RBJ-MEH
        ____________________________________________________________

        WARNER BROS. RECORDS INC., et al.,

                   Plaintiffs,

        vs.

        CHARTER COMMUNICATIONS, INC.,

                   Defendant.

        ____________________________________________________________

                               TELEPHONIC HEARING

                             January 22, 2021
        ____________________________________________________________
                   This telephonic hearing was taken before
        Special Master Regina Rodriguez on January 22, 2021, at
        9:00 a.m. Mountain Standard Time before K. Michelle
        Dittmer, Registered Professional Reporter and Notary
        Public within the state of Colorado.

        (The reporter, K. Michelle Dittmer, appearing remotely
        via telephone)




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   1    A P P E A R A N C E S
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   1                      SPECIAL MASTER RODRIGUEZ:        Okay.   All
   2    right.
   3                      Well, on this one, what I'm going to order
   4    is, Charter, that you provide to me a redacted and
   5    unredacted version, and I'll take a look and review in
   6    camera and make a final decision.
   7                      MR. SCHAPIRO:     Thank you, Ms. Rodriguez.
   8                      SPECIAL MASTER RODRIGUEZ:        All right.
   9    What's next?
  10                      MR. EHLERS:     Good morning, Ms. Rodriguez.
  11    This is Hardy Ehlers from plaintiffs.
  12                      The last issue in our letter is the
  13    discovery that we requested that goes to Charter's
  14    defense in this case arguing that peer-to-peer
  15    infringement is no longer a problem.
  16                      So the defense is that plaintiffs'
  17    statutory damages should be reduced because today,
  18    peer-to-peer infringement is no longer a problem, that
  19    it's instead a historical phenomenon.          And the theory
  20    goes that deterrence is a factor in assessing statutory
  21    damages, and there is nothing to deter here because
  22    peer-to-peer infringement has just gone away and so
  23    plaintiffs' statutory damages should be significantly
  24    reduced.
  25                      The request at issue here that were listed



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   1    in the appendix to our letter seek information to rebut
   2    that defense.     There, just the necessary course that have
   3    requests that would show that infringement is so rampant
   4    on Charter's network that Charter has continued to
   5    present to provide services -- its services to known
   6    repeat infringers and that Charter would terminate those
   7    same repeat infringers when they would not pay the
   8    subscription fees they owed to Charter; in other words,
   9    when Charter's pocketbook was at stake rather than
  10    plaintiffs'.
  11                      So those are -- those kind of three
  12    elements are the things that plaintiffs need to disprove
  13    the predicate notions that underlie Charter's defense,
  14    that peer-to-peer piracy isn't a problem anymore and
  15    there's no Charter behavior to deter here.
  16                      So we think we're entitled to this
  17    discovery to rebut that notion, those two notions,
  18    because if there's a liability finding here, Charter's
  19    going to rely on them very heavily to say that damages
  20    should be reduced potentially to the tune of hundreds of
  21    millions of dollars.
  22                      SPECIAL MASTER RODRIGUEZ:        All right.
  23    Thank you, Mr. Ehlers.
  24                      Remind me again, you indicated that with
  25    regard to the specific issue, also peer-to-peer



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   1    infringement, the specific discovery requests were --
   2    tell me what those were again.
   3                      MR. EHLERS:     They are six RFPs and three
   4    interrogatories.
   5                      SPECIAL MASTER RODRIGUEZ:        Okay.
   6                      MR. EHLERS:     And the --
   7                      SPECIAL MASTER RODRIGUEZ:        And this is
   8    what's in -- sorry.      This is what's in your Appendix 1,
   9    right, it's the whole list?
  10                      MR. EHLERS:     Correct.
  11                      SPECIAL MASTER RODRIGUEZ:        I currently --
  12                      MR. EHLERS:     And they -- and they appear a
  13    little bit out of order because they are six requests
  14    that we selected from the sets that you had ordered us to
  15    reproduce to cover infringement to present for purposes
  16    of the counter-counterclaims.
  17                      We're only -- we've only -- we picked
  18    these six because they are the core requests that are
  19    also relevant to Charter's defense here.
  20                      SPECIAL MASTER RODRIGUEZ:        Okay.   Thank
  21    you.
  22                      Counsel for Charter, would you like to
  23    respond?
  24                      MS. BREWER:     Yes.   This is Linda Brewer on
  25    behalf of Charter.



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   1                      Given Judge Jackson's ruling on
   2    December 15 and his very clear guidance to the parties as
   3    to the scope of the case and the need for the parties to
   4    stay on track for an October 2021 trial, we were very
   5    concerned to receive the email on January 4 from
   6    plaintiffs following up on this counter-counterclaims
   7    discovery they served on December 5 that has always been
   8    understood, by you and the parties, to be premised on the
   9    prospective counter-counterclaims that have now been
  10    stricken from the record.
  11                      We were even more disturbed that we
  12    properly responded to that email to point out that a
  13    motion to compel responses to those requests would be
  14    improper.    Heard nothing back from plaintiffs, absolutely
  15    nothing.    And then this issue was included in the
  16    January 18 letter to you as a basis for a motion to
  17    compel.
  18                      We think, and we hope that you agree,
  19    after reviewing the December 15 transcript, that Judge
  20    Jackson provided a very clear admonition to plaintiffs as
  21    to the appropriateness of the case.
  22                      He not only found that the
  23    counter-counterclaims that -- that sought to vastly
  24    expand the scope of the case by adding new works, that
  25    expanding the claims period by doubling it were not



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   1    permissible, but explicitly ruled that the proposed
   2    claims were never properly at issue in the case in the
   3    first place.
   4                      For that reason, he found Charter's motion
   5    to dismiss unnecessary and instead granted Charter's oral
   6    motion at the hearing to strike the claims from the
   7    record.
   8                      In that hearing, Judge Jackson pointed out
   9    that the case was filed back in March 2019, and he views
  10    it as an old case.      He wants the parties to stay on
  11    schedule.    He is not moving the October 2021 trial date.
  12    This was made very clear to the parties on December 15.
  13                      Against this background, we are frankly
  14    stunned that plaintiffs waited three weeks to approach us
  15    with a brand-new argument:        That the November 5
  16    counter-counterclaims discovery can nevertheless be
  17    pursued, because plaintiffs believe there is now creative
  18    arguments that is marginally related to a damages
  19    argument that Charter asserted in different context with
  20    respect to a different discovery request that was
  21    extensively litigated and wasn't even decided in
  22    Charter's favor.
  23                      This, to us, is problematic for so many
  24    reasons.    First, plaintiffs never once made this argument
  25    that they needed to propound this discovery of that issue



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    1    today in order to counter a damages argument made by
    2    Charter six months ago.
    3                      And quite honestly, I woke up at 5:00 a.m.
    4    this morning and I reviewed that October 26 transcript
    5    before you in full.      I looked if there was any mention of
    6    this argument as the basis for the need to propound this
    7    discovery.    There was not.
    8                      They did not make this argument to you
    9    when we appeared on October 26 as an additional reason
  10     for the need to propound discovery, and they didn't make
  11     this argument to Judge Jackson when they appeared before
  12     him on December 15.
  13                       Second, the discovery is not proportional
  14     or rationally related to the damages argument.            The
  15     discovery is broadly based information from Charter that
  16     is a complete redo of discovery taken on the underlying
  17     claim that itself has consumed a vast amount of Charter's
  18     time to respond to at great expense.
  19                       It has also consumed substantial judicial
  20     resources to litigate due to all of the disputes that
  21     naturally arise out of this type of discovery, which I
  22     think is demonstrated by the fact that we've spent
  23     90 minutes already in a hearing today on outstanding
  24     requests on the underlying claim.
  25                       To require Charter to start anew with this



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    1    new fact discovery, when fact discovery is supposed to be
    2    closing, would be incredibly prejudicial and at odds with
    3    Judge Jackson's directive to the parties to stay on
    4    track.
    5                      It's also difficult for this discovery to
    6    be justified when it's not tethered now to any new claims
    7    that would be added to the case.         The pursuit of this
    8    discovery, when not tethered to any claims, is, we think,
    9    something that borders on a due process violation at this
  10     point in time.
  11                       We've also extensively briefed, in the
  12     context of our declaratory judgment counterclaim and the
  13     context of our motion to dismiss the proposed
  14     counter-counterclaim, how prejudicial this discovery
  15     would be for Charter.
  16                       Not just because of the expense and burden
  17     associated with responding to it, which could not be
  18     cured unless the case is extended by a year and the
  19     discovery was reciprocated by plaintiff, but also because
  20     it would bring new facts into the case regarding the
  21     post-2016 time period and Charter's system for processing
  22     this case, that would be substantively prejudicial to
  23     Charter to the point of preventing a fair trial.
  24                       We made this argument to Judge Jackson in
  25     the context of our motion to dismiss.          He was receptive



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    1    to it, and the issue was decided in our favor.
    2                      It's even more egregious at this point
    3    that Charter was compelled to reveal that information in
    4    order to adequately explain to the Court why the proposed
    5    counter-counterclaims would be so prejudicial, and now
    6    the information is being used against us.
    7                      We also have fundamental fairness concerns
    8    about this litigation process.        Five of the six document
    9    requests that Mr. Ehlers has referred to exceed the caps
  10     that are set in the scheduling order.          As you're well
  11     aware, all of the requests implicate claims that are
  12     no -- no longer part of the case, and when we first
  13     discussed these, there wasn't the clarity that we have
  14     now.
  15                       As of October 26, when there's no clarity
  16     as to how Judge Jackson would decide the issue pertaining
  17     to the counter-counterclaims, we took to heart your
  18     guidance that the parties should meet and confer and work
  19     something out that would clearly and equally apply to
  20     both sides.
  21                       We took that to heart on our end and made
  22     an earnest attempt to find something workable with the
  23     plaintiffs while we waited for Judge Jackson's ruling.
  24                       If you see attached to our submission of
  25     yesterday, we included a letter that we sent following



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    1    the October 26 hearing to plaintiff, which we think
    2    reflected quite a bit of thought and effort on our part
    3    to try to find path forward to compromise while we waited
    4    for Judge Jackson's ruling.
    5                      THE COURT REPORTER:      I'm sorry, I'm
    6    sorry --
    7                      MS. BREWER:    Additionally, that --
    8                      Yeah?
    9                      (Court reporter clarification.)
  10                       MS. BREWER:    We attached to our submission
  11     yesterday a letter that we sent to plaintiffs on
  12     November 2, following the October 26 hearing, to see if
  13     the parties could find an acceptable path forward.             That
  14     letter was not responded to.
  15                       In fact, plaintiffs just turned around and
  16     served these additional discovery requests on us,
  17     exceeding the discovery limits, and they did so at their
  18     own peril.    It turned out that Judge Jackson did not
  19     agree with them, did not agree that the claims were
  20     properly at issue in the case, and struck the claims.
  21                       That means, in our point of view, and we
  22     think Judge Jackson would agree, that this discovery may
  23     not proceed.
  24                       What --
  25                       SPECIAL MASTER RODRIGUEZ:       All right.



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    1                      MS. BREWER:    -- we believe --
    2                      Oh, I have one more point.        But if I --
    3                      SPECIAL MASTER RODRIGUEZ:       Okay.
    4                      MS. BREWER:    If I --
    5                      SPECIAL MASTER RODRIGUEZ:       You may -- but
    6    I'll let you make your final point.
    7                      MS. BREWER:    Yes.    And I -- the final
    8    point is, is we think it's just as important, which is
    9    that we believe in earnest that this -- this issue was
  10     conclusively decided in our favor as of December 15, and
  11     that was by the Article III judge, who set aside his own
  12     time to have a Zoom hearing with the parties so that he
  13     could make his view of the case and his view of the
  14     schedule very, very clear to the parties, which he did.
  15                       Based on that, we served the remainder of
  16     our written discovery on December 31, believing the scope
  17     of the case to be clear and believing that the parties
  18     were on the same page, that the November 5 discovery had
  19     been rendered moot.
  20                       And we also agreed with plaintiffs at the
  21     end of December to negotiate in good faith with them on
  22     extension of the fact discovery schedule, believing it to
  23     be premised on a mutual understanding that we were
  24     proceeding on the scope of the case as Judge Jackson
  25     articulated.



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    1                      We thought the parties were on the same
    2    page, but the fact extension that we were negotiating was
    3    to give the parties time to take depositions and to get
    4    the case ready for expert discovery and to move on to our
    5    pretrial and trial.
    6                      And we have, as Your Honor knows -- or as
    7    you understand from the Tuesday hearing, we have served
    8    our notices on plaintiffs.       We've got a deposition on
    9    calendar for next week.       We have a third-party deposition
  10     that's starting today.       We have on our end pivoted, in
  11     line with Judge Jackson's guidance, to move the case
  12     along to the deposition phase.
  13                       So for plaintiffs to now open up and
  14     create a new argument that was never once raised in 2020
  15     as the foundation for this discovery, for discovery that
  16     is so broad and so expansive and is essentially a redo of
  17     everything that we just did in this case, we think that
  18     this is going to be significantly prejudicial and violate
  19     Judge Jackson's directive that we stay on track for a
  20     2021 trial.
  21                       The discovery requests that are included
  22     at the end of that letter are not benign and they are not
  23     straightforward.     They would blow the lid off of this
  24     case.
  25                       They would require new negotiations



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    1    regarding custodians, with productions, with follow-on
    2    requests challenging the sufficiency of Charter's
    3    production, new privilege reviews, new privilege logs,
    4    new discovery price related to those additional hearings
    5    before you, challenges to the rulings that are made by
    6    you for the -- by the party that loses, and more hearings
    7    on those challenges, both with Judge Hegarty, Magistrate
    8    Judge Hegarty, and Judge Jackson.
    9                      For all of those reasons, we think that
  10     this instant attempt to move to compel the
  11     counter-counterclaim discovery should be denied.
  12                       SPECIAL MASTER RODRIGUEZ:       Okay.    Thank
  13     you, Ms. Brewer.
  14                       All right.    Well, I will tell you, I also
  15     am a little surprised to see this discovery request.             It
  16     does appear to me to be a back-door approach to obtain
  17     discovery on topics for which the Court has already
  18     denied.
  19                       I also read Judge Jackson's order as being
  20     very clear.    I don't find Judge Jackson to be ambiguous
  21     in much of anything that he does, and he was very clear
  22     in this case that we're not going to expand the claims,
  23     nor are we going to expand the time period.
  24                       Each of these discovery requests seeks
  25     information for a time period May 18, 2016 through



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    1    April 30, 2020, which would expand the time period at
    2    issue in this case, and we're not going to do that.
    3                      So for the reasons articulated by
    4    Ms. Brewer, I am not going to order this discovery, and I
    5    believe that issue has been fairly and decisively ruled
    6    upon by Judge Jackson.
    7                      All right.
    8                      MS. BREWER:    Thank you.
    9                      SPECIAL MASTER RODRIGUEZ:       Is there
  10     anything else?
  11                       MS. BREWER:    No.    Ms. Brewer again.
  12                       I'm pleased to report, we had mentioned to
  13     you on Tuesday that the parties were negotiating a
  14     deposition protocol, and we actually resolved our
  15     remaining issues related to that as of last night, and so
  16     we don't need to take up your time with that.
  17                       SPECIAL MASTER RODRIGUEZ:       Terrific.
  18                       MS. BREWER:    And --
  19                       SPECIAL MASTER RODRIGUEZ:       Thank you.
  20                       MS. BREWER:    Yep.
  21                       More good news for you, which is that, you
  22     know, we've also taken to heart, again, consistent with
  23     everything that I just said regarding how serious we took
  24     Judge Jackson's guidance regarding moving this case along
  25     and focusing on what's important.         And so at this point



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    1                        REPORTER'S CERTIFICATE
    2
    3             I, K. MICHELLE DITTMER, Registered Professional
    4    Reporter and Notary Public, State of Colorado, do hereby
    5    certify that the said hearing was taken in machine
    6    shorthand by me at the time and place aforesaid and was
    7    thereafter reduced to typewritten form; that the
    8    foregoing is a true transcript of the proceedings had.             I
    9    further certify that I am not employed by, related to,
  10     nor counsel for any of the parties herein, nor otherwise
  11     interested in the outcome of this litigation.
  12                 IN WITNESS WHEREOF, I have affixed my signature
  13     this 28th day of January, 2021.
  14                 My commission expires April 15, 2024.
  15
  16                 ____________________________________
                              K. MICHELLE DITTMER
  17                   Registered Professional Reporter
                           Wilson & Associates, LLC
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